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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NOTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,

       vs.                                         No. 3:24-CV-

$39,980 in U.S. Currency,

                     Defendant in Rem.


              VERIFIED COMPLAINT FOR FORFEITURE IN REM


      Pursuant to Supplemental Rule G(2) of the Federal Rules of Civil Procedure, the

United States of America alleges this in rem complaint for forfeiture against $39,980 in

U.S. currency (“Defendant Property”):

                              NATURE OF THE ACTION

      1.     This is a forfeiture action under 21 U.S.C. § 881(a)(6) and 18 U.S.C. §

981(a)(1)(C). The United States seeks the forfeiture of the Defendant Property, because it

is moneys furnished by any person in exchange for a controlled substance, proceeds

traceable to such an exchange, and/or property intended to facilitate such an exchange in

violation of 21 U.S.C. §§ 841(a) and/or 846. The Defendant Property is also subject to

forfeiture under 18 U.S.C. § 981(a)(1)(C), because it was property which constitutes or is

derived from proceeds traceable to a violation of 18 U.S.C. § 1952, a specified unlawful

activity as defined in 18 U.S.C. §§ 1957(c)(7) and 1961(1).
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                              JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction over this matter under 28 U.S.C.

§§ 1345 and 1355(a), and in rem jurisdiction is proper under 28 U.S.C. § 1355(b).

       3.      Venue in this Court is proper under 28 U.S.C. §§ 1355(b)(1)(A) and 1391(b),

because acts or omissions giving rise to the forfeiture occurred in the Northern District of

Texas and a substantial part of the events giving rise to the forfeiture occurred in the

Northern District of Texas.

                                           PARTIES

      4.       The Plaintiff is the United States of America.

      5.       The Defendant Property is $39,980 in U.S. currency.               The Defendant

Property was seized from Cornelius Ferrell at DFW Airport, Texas, on October 28, 2020.

On November 3, 2020, it was deposited into a Loomis bank account in Dallas, Texas.

      6.       Emily Fuller (“Fuller”), a resident of Lancaster, Texas, claimed the

Defendant Property on October 19, 2023, and sought judicial referral.

                                            FACTS

       7.      The factual basis for the forfeiture in this case involves an investigation by

the DEA Dallas Airport Interdiction Group (“DEA Task Force”) at DFW Airport

(“DFW”). One of the DEA Task Force’s responsibilities at DFW is to investigate the use

of the airport and the airlines that service the airport to perpetrate or facilitate the illegal

transportation of proceeds obtained from criminal conduct including drug trafficking.


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       8.        Those trafficking in illegal narcotics must often find a way to transport the

proceeds of their criminal conduct without drawing the attention of law enforcement. Air

travel is one mode used by the traffickers or couriers working for or with them to

transport such proceeds. The use of air travel allows drug traffickers to keep their ill-

gotten gains “off the books” and outside the banking system, which they know is

regularly monitored by banking and governmental authorities.

       9.        Investigators with the DEA Task Force are specially trained and learn by

experience how to identify those who are using the federal aviation system to facilitate

narcotic trafficking.

       10.       On October 27, 2020, DEA Dallas Field Division Enforcement Group 4

received credible information regarding the suspicious travel of Cornelius Quana Ferrell

(“Ferrell”) who was scheduled to travel from Dallas, Texas to Los Angeles, California on

American Airlines flight 2318 scheduled to depart on October 28, 2020 at 5:00pm.

       11.       On October 28, 2020, at approximately 3:00pm, members of Enforcement

Group 4, assisted by DEA Task Force, including Special Agent Kenny Adames, TFO

Tanisha Washington, TFO Michael McBride and TFO Garcia, went to the baggage and

ticket area at Terminal A at DFW Airport.

       12.       At approximately 4:00pm, TFO Garcia and TFO McBride observed Ferrell

wearing a gray jogging suit and a red face mask. He brought a pink suitcase to a self-

service kiosk.


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       13.    TFO Garcia and TFO McBride approached Ferrell and identified

themselves by showing their picture identification and badges. TFO Garcia asked Ferrell

if they could talk to him and Ferrell agreed and replied yes.

       14.    Ferrell was asked if he was carrying any drugs, weapons or sharp non metal

items and he replied no. Ferrell was asked if he was traveling with large amounts of U.S.

currency and he replied no. Ferrell did tell officers he had $3,000 in his pants pocket.

       15.    After receiving consent to search his person, agents/officers located

$3,055.000 on Ferrell’s person in his front left pocket.

       16.    Ferrell told agents/officers he was going to Los Angeles to purchase a

vehicle, and had cash with him for that purpose. However, Ferrell was not able to provide

agents/officers any information about the vehicle he was purchasing.

       17.    Initially, Ferrell declined consent for officers/agents to search his suitcase.

       18.    A certified narcotics odor detection canine, Lulu, who can detect the odors

of four controlled substances including marijuana, cocaine, heroin, and

methamphetamine, gave a positive alert for the presence of an odor of narcotics during an

open-air sniff on the luggage belonging to Ferrell.

       19.    Ferrell was advised his suitcase was being seized to obtain a search

warrant. At that point, Ferrell provided officers/agents consent to search the suitcase.




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         20.   Ferrell unlocked his suitcase for officers to search. Inside, agents/officers

located some clothing articles, a pair of tennis shoes, and some dryer sheets around a

light blue plastic bag that contained marijuana drug paraphernalia.

         21.   Agents/officers also located a black backpack inside the suitcase that

contained a small red fanny pack containing several bundles of U.S. Currency wrapped in

plastic and bound by rubber bands. The black backpack also had several dryer sheets.

         22.   Additionally, in the suitcase, agents/officers found two empty large

vacuum seal plastic bags. The bundled currency and vacuum seal bags are pictured

below:




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       23.    Also in the luggage, officers found a copy of a DEA-12 that was provided

to Ferrell by the DEA Task force on July 29, 2020, after $69,000 U.S. Currency was

seized from him at the DFW airport, pictured below.




       24.    Following the currency seizure on October 28, 2020, DEA agents/officers

reviewed Ferrell’s work history on the Texas Workforce Commission and did not find

evidence of legitimate employment commensurate with the amount of currency he was

carrying.

       25.     Ferrell has a lengthy criminal history involving the possession of illegal

drugs and firearms.

       26.     The money seized from Ferrell’s suitcase totaled $39,980. In the DEA

Agents/Officers’ experience, possession of such a large amount of currency is not typical

of legitimate airport travelers.


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                               FIRST CAUSE OF ACTION
                                    21 U.S.C. § 881(a)(6)
                    (forfeiture of property related to drug trafficking)

       1.      The United States reasserts all allegations previously made.

       2.      Under 21 U.S.C. § 881(a)(6), “moneys, negotiable instruments, securities,

or other things of value furnished or intended to be furnished by any person in exchange

for a controlled substance or listed chemical in violation of this subchapter, all proceeds

traceable to such an exchange, and all moneys, negotiable instruments, and securities

used or intended to be used to facilitate any violation of” 21 U.S.C. § 801 et seq. are

subject to forfeiture.

       3.      Under 21 U.S.C. § 841(a), it is “unlawful for any person knowingly or

intentionally . . . to manufacture, distribute, or dispense, or possess with intent to

manufacture, distribute, or dispense, a controlled substance.” An attempt or conspiracy

to do the same is also prohibited by 21 U.S.C. § 846.

       4.      As set forth above, the Defendant Property is moneys furnished by any

person in exchange for a controlled substance, proceeds traceable to such an exchange,

and/or property intended to facilitate such an exchange in violation of 21 U.S.C. §§

841(a) and/or 846. This property is therefore subject to forfeiture pursuant to 21 U.S.C.

§ 881(a)(6).




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                             SECOND CAUSE OF ACTION
                                 18 U.S.C. § 981(a)(1)(C)
                    (forfeiture related to violation of the Travel Act)

          5.   The United States reasserts all allegations previously made.

          6.   Under 18 U.S.C. § 981(a)(l)(C), any property which constitutes or is

derived from proceeds traceable to an offense constituting a “specified unlawful

activity,” or a conspiracy to commit such offense, is subject to forfeiture to the United

States.

          7.   Under 18 U.S.C. §§ 1956(c)(7)(A) and 1961(1), interstate travel or

transportation in aid of racketeering enterprises in violation of 18 U.S.C. § 1952 is a

specified unlawful activity.

          8.   18 U.S.C. § 1952(a) prohibits, inter alia, any individual who uses “any

facility in interstate or foreign commerce,”:

                with the intent to –

                (1) distribute the proceeds of any unlawful activity; or [ ]
                (3) otherwise promote, manage, establish, carry on, or facilitate the
                promotion, management, establishment, or carrying on, of any unlawful
                activity”

from thereafter performing or attempting to perform the conduct described in

subparagraphs (1) and (3) above.

          9.   18 U.S.C. § 1952(b) specifically includes within the definition of “unlawful

activity” “any business enterprise involving . . . narcotics or controlled substances (as

defined in section 102(6) of the Controlled Substances Act).”

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       10.        As set forth above, the Defendant Property is property which constitutes or

is derived from proceeds traceable to a violation of 18 U.S.C. § 1952. This property is

therefore subject to forfeiture pursuant to 18 U.S.C. § 981(a)(l)(C).

                                    REQUEST FOR RELIEF

       WHEREFORE, the United States respectfully asserts that the Defendant Property

is forfeitable to the United States under 21 U.S.C. § 881(a)(6) and 18 U.S.C. §

981(a)(1)(C).

    The United States further requests:

             A.       That, pursuant to the Supplemental Rules for Admiralty or Maritime

                      Claims and Asset Forfeiture Actions, Rule G(3)(b)(ii), the Clerk of the

                      Court issue a Summons and Warrant of Arrest in Rem as to the

                      Defendant Property.

             B.       That Notice of this action be given to all persons known or thought to

                      have an interest in or right against the Defendant Property;

             C.       That a Judgment of Forfeiture be decreed against the Defendant

                      Property;

             D.       That upon the issuance of a Judgment of Forfeiture, the United States

                      Marshals Service or its delegate be able to dispose of the Defendant

                      Property according to law; and

             E.       That the United States receives its costs of court and all further relief to

                      which it is entitled.
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DATED this 17th day of January, 2024.

                                        LEIGHA SIMONTON
                                        UNITED STATES ATTORNEY



                                        /s/ Elyse J. Lyons
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                                        ATTORNEY FOR PLAINTIFF




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                                   VERIFICATION

      I am a Special Agent with the Drug Enforcement Administration (DEA). As a

Special Agent with the DEA, my duties and responsibilities include participating in the

investigation and prosecution of persons who violate federal laws.

      I have read the contents of the foregoing Complaint for Forfeiture In Rem and

verify under penalty of perjury pursuant to 28 U.S.C. § 1746 that the factual statements

contained therein are true and correct to the best of my knowledge and belief.

                       17 day of January 2024.
      Executed on this ____




                                        Special Agent Henry Blackmon
                                        Drug Enforcement Administration




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